             Case 1:21-cr-00175-TJK Document 593 Filed 12/16/22 Page 1 of 2




                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                       :
                                               :
        v.                                     :        Criminal No. 21-cr-175-4 (TJK)
                                               :
CHARLES DONOHOE,                               :
                                               :
                        Defendant.             :


                                      JOINT STATUS REPORT

        The United States of America, by and through the United States Attorney for the District

of Columbia, and Defendant Charles Donohoe (“Donohoe”), by and through his counsel,

respectfully file this joint status report.

        On April 8, 2022, Defendant Charles Donohoe appeared before this Honorable Court and

entered a plea of guilty to Counts One and Six of the Second Superseding Indictment. As set forth

in the Plea Agreement, Donohoe’s estimated Sentencing Guidelines range is 70 – 87 months. ECF

335 at *4. Pursuant to the terms of the Plea Agreement, Donohoe agreed to cooperate with the

Office of the United States Attorney for the District of Columbia, including full, complete and

truthful testimony at any future trial or court proceeding. Id. at *7.

        As of the date of this filing, the parties do not anticipate that Donohoe’s cooperation will

be complete prior to February 10, 2023. The parties hereby propose to file another joint status

report on or before February 10, 2023, which status report can provide a further update on the

anticipated timeline for the completion of Donohoe’s cooperation. As of this filing, Donohoe

remains incarcerated, and the parties do not seek any change in Donohoe’s terms of confinement

at this time.

                                                   //
Case 1:21-cr-00175-TJK Document 593 Filed 12/16/22 Page 2 of 2




                                MATTHEW M. GRAVES
                                United States Attorney
                                DC Bar No. 481052

                          By:   /s/ Jason McCullough
                                JASON B.A. MCCULLOUGH
                                D.C. Bar No. 998006; NY Bar No. 4544953
                                ERIK M. KENERSON
                                Ohio Bar No. 82960
                                NADIA E. MOORE, NY Bar No. 4826566
                                    On Detail to the District of Columbia
                                Assistant United States Attorneys
                                601 D Street, N.W.
                                Washington, D.C. 20530
                                (202) 252-7233 //
                                jason.mccullough2@usdoj.gov


                          By:    /s/ Conor Mulroe
                                 CONOR MULROE, NY Bar No. 5289640
                                 Trial Attorney
                                 U.S. Department of Justice, Criminal
                                 Division
                                 1301 New York Ave. NW, Suite 700
                                 Washington, D.C. 20530
                                 (202) 330-1788
                                 Conor.Mulroe@usdoj.gov
